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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                              :
                                                      :      Case No. 21-CR-00618 (ABJ)
               v.                                     :
                                                      :
RILEY JUNE WILLIAMS,                                  :
                                                      :
                                                      :
               Defendant.                             :




                     NOTICE OF WITHDRAWAL OF APPEARANCE

       The United States of America, by and through its undersigned counsel, the United States

Attorney for the District of Columbia, herby informs the Court the Assistant United States

Attorney (detailee) Joseph H. Huynh and U.S. Department of Justice Trial Attorney (detailee)

Maria Fedor, as counsel for the United States, are terminating their appearance as counsel of

record in this matter. All other government counsel noted on the docket at the time of this filing

will remain counsel for the United States.



                                                     Respectfully submitted,

                                                     MATTHEW M. GRAVES
                                                     United States Attorney
                                                     D.C. Bar No. 481052

                                                     /s/ Joseph H. Huynh
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